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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT
                            FORT WORTH DIVISION


EUGENIO VARGAS,                            §
                                           §
Plaintiff/Counterclaim Defendant,          §
                                           §
                                           §
v.                                         §          Civil Action No. 4:22-cv-00430
                                           §
                                           §
ASSOCIATION OF PROFESSIONAL                §
FLIGHT ATTENDANTS, JULIE                   §
HEDRICK, AND ERIK HARRIS,                  §
                                           §
Defendants/Counterclaim Plaintiffs.        §

                   PLAINTIFF/COUNTERCLAIM DEFENDANT’S
                    CERTIFICATE OF WRITTEN DISCOVERY

        COMES NOW, the Plaintiff/Counterclaim Defendant, EUGENIO VARGAS,

by and through their undersigned counsel and hereby certifies that on this 28th day

of July 2022 the following written discovery was served in this case on the

Defendants/Counterclaim Plaintiffs, ASSOCIATION OF PROFESSIONAL FLIGHT

ATTENDANTS, JULIE HEDRICK, AND ERIK HARRIS, by and through their

counsels, via email to Sandford R. Denison, Margot A. Nikitas and William W.

Osborne at denison@baabdenison.com, MNikitas@apfa.org, and

b.osborne@osbornelaw.com, respectively the following:


     1. Plaintiff’s/Counterclaim Defendant’s First Requests for Production to
        Defendants/Counterclaim Plaintiffs.




DEFENDANT’S CERTIFICATE OF WRITTEN DISCOVERY – Page 1
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                                          Respectfully submitted,
                                          KD PHILLIPS LAW FIRM, PLLC

                                          By: /s/ Kerri Phillips______________
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                                               ATTORNEY FOR
                                               PLAINTIFF/COUNTERCLAIM
                                               DEFENDANT


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 28th day of July 2022 a true and correct copy
of the foregoing instrument was served upon Plaintiff’s attorney via the e-filing
manager and email to at denison@baabdenison.com, MNikitas@apfa.org, and
b.osborne@osbornelaw.com, respectively.

                                     /s/ Kerri Phillips ________
                                     Kerri Phillips, Esq.




DEFENDANT’S CERTIFICATE OF WRITTEN DISCOVERY – Page 2
